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Case O7-21466 Filed 02/07 Doc 72

 

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EASTERN DlSTRlCT OF CALIFORN£ `~

 

 

 

UNITED STATES BANKRUPTCY COURT

EASTERN DISTRICT OF CALIFORNIA

In re Case No. 07-21466~€-7

)
)
EVELYN R. SANTIAGO, ) MC NO. JKB-l
)
Debtor. )
)

 

FINDINGS OF FACT AND CONCLUSIONS OF LAW
ON MOTION FOR RELIEF FROM AUTOMATIC STAY NOT INTENDED FOR
PUBLICATION
These findings of fact and conclusions of law, which are
not intended for publication, are rendered in this contested
matter pursuant to Federal Rule of Civil Procedure 52 as

incorporated by Federal Rules of Bankruptcy Procedure 7052 and

9014.

Jurisdiction
Jurisdiction is founded upon 28 U.S C. § 1334. This is

a core proceeding. 28 U.S.C. § 157(b)(2)(G).

Findings of Fact

Debtor filed her voluntary chapter 7 petition on March

5, 2007. She scheduled real property commonly known as 233

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CaSe 07-21466 Filed 08/02/07 DOC 72

Tamarisk Circle, Suisun City, CA 94585 ("property") as property
of the estate. The first meeting of creditors was held on
April 12, 2007. The chapter 7 trustee filed a report finding
that there is property available for distribution from the
estate over and above that exempted by the debtor. Debtor was
discharged from all dischargeable debts on June 19, 2007.

On June 19, 2007, Wilshire Credit Corp. ("movant") filed
a motion, notice, and declaration requesting that this court
vacate the automatic stay to permit movant to foreclose upon
the property. The fair market value of the property is
approximately $464,754. Movant has a lien on the property in
the approximate amount of $409,687.34. There are other liens
against the property in the approximate amount of $49,461.

The trustee filed a notice of non-opposition to the
motion on June 25, 2007.

No opposition to the motion was filed within the time
prescribed by Local Bankruptcy Rule 9014-l(f)(l). The parties
have consented to taking evidence by affidavit and have not
demonstrated that there is any disputed material factual issue
that Would warrant an evidentiary hearing. _§§ L. Bankr. R.
90l4-l(f)(l). The evidentiary record is closed. ld;

Upon review"of the record, the court determined that
the Written record Was adequate and that no oral argument is

l'l€CSSSaI`Y .

Conclusions of Law
The automatic stay of acts against debtor in personam

expires when the debtor is granted a discharge. ll U.S.C.

 

 

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CaSe 07-21466 Filed 08/02/07 DOC 72

§ 362(c)(2)(C). Acts against property of the estate remain
stayed until the earliest of the time when the bankruptcy case
is closed, dismissed, or the property ceases to be property of
the estate. ll U.S.C. § 362(c). The automatic stay may be
terminated earlier if debtor fails to protect the secured
party's interest adequately, § 362(d)(l), and, with respect to
a stay of an act against property, debtor does not have equity
in the property, § 362(d)(2)(A), and the property is not
necessary to an effective reorganization. ll U.S.C. §
362(d)(2)(B). The issue of whether the property is necessary
to an effective reorganization is not considered in a chapter 7
case because no reorganization is contemplated in a chapter 7
case.

Although the debtor appears to have some equity in the
property, since the debtor was granted a discharge, the
automatic stay has expired as to the debtor. Thus, the motion
insofar as it is directed at the interest of the debtor is moot
and Will be denied.

However, the motion Will be granted as to the interest
of the trustee. s

An appropriate order will issue.

Dated: Augusto€ , 2007

UNITED Ws BANKRUPTCY JUDGE

 

 

CaSe O7-21466 Filed 08/02/07 DOC 72

CERTIFICATE OF SERVICE

On the date indicated below, I served a true and
correct copy(ies) of the attached document by placing said
copy(ies) in a postage paid envelope addressed to the person(s)
hereinafter listed and by depositing said envelope in the
United States mail or by placing said copy(ies) into an
interoffice delivery receptacle located in the Clerk's Office.

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United States Courthouse

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Sacramento, CA 95814

Dated. §/§/U 7

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Depz£y Clerkj

 

 

